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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 16-cv-21454-GAYLES

  ECOSERVICES, LLC,
           Plaintiff/Counter-Defendant,

                 v.

  CERTIFIED AVIATION SERVICES, LLC,
            Defendant/Counter-Plaintiff.
                                                   /

                                              ORDER

         THIS CAUSE comes before the Court on Defendant/Counter-Plaintiff Certified Aviation

  Services, LLC’s Motion to Transfer Venue to the Central District of California [ECF No. 25],

  pursuant to 28 U.S.C. § 1404(a). The Court has carefully reviewed the briefs, the record in this

  case, and the applicable law, and is otherwise fully advised in the premises. For the reasons that

  follow, the motion shall be granted.

  I.     BACKGROUND

         Plaintiff/Counter-Defendant EcoServices, LLC (“EcoServices”), alleges in this patent

  infringement action that Defendant/Counter-Plaintiff Certified Aviation Services, LLC (“CAS”),

  infringed U.S. Patent Nos. 9,162,262 (the “’262 Patent”), 8,197,609 (the “’609 Patent”), and

  5,868,860 (the “’860 Patent”) (collectively, the “Asserted Patents”). EcoServices “provides an

  on-wing aircraft engine washing system under the brand and registered trademark EcoPower Engine

  Wash System,” which it describes as “a revolutionary system and method for cleaning aircraft

  engines,” that is protected by numerous patents worldwide, including the Asserted Patents. Compl.

  ¶¶ 2-3. In its Complaint, EcoServices alleges that CAS is infringing on the Asserted Patents by

  using a system called Cyclean Engine Wash (“Cyclean”) to clean aircraft engines. Id. ¶ 4. In its

  Answer and Counterclaims, CAS asserts non-infringement and invalidity of the Asserted Patents.


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          In the instant motion, CAS argues that the Central District of California is a more convenient

  forum for several reasons: (1) CAS’s headquarters and allegedly infringing activities are concen-

  trated in that District; (2) the evidence and witnesses are concentrated in that District; (3) none of

  CAS’s witnesses or evidence are located in the Southern District of Florida; and (4) EcoServices’

  only alleged connection to the Southern District of Florida is through a third-party franchisee

  located here. In response, EcoServices argues that (1) its choice of forum should be accorded con-

  siderable deference, (2) the inconvenience of witnesses does not outweigh the choice of forum, and

  (3) the location of documents and evidence does not favor transfer.

  II.    DISCUSSION

          The statute governing venue transfer, 28 U.S.C. § 1404(a), provides, in relevant part, that,

  “[f]or the convenience of parties and witnesses, in the interest of justice, a district court may

  transfer any civil action to any other district . . . where it might have been brought.” This analysis

  requires a two-pronged inquiry. First, a court must determine whether the case may have been

  brought in the desired district of transfer. Meterlogic, Inc. v. Copier Solutions, Inc., 185 F. Supp.

  2d 1292, 1299 (S.D. Fla. 2002). This question depends on whether CAS is subject to jurisdiction

  in California, whether venue is appropriate in the Central District of California, and whether CAS

  is amenable to service of process in California. See id. Because the parties do not dispute that

  this action could have been brought in the Central District of California, the Court turns to a dis-

  cussion of the second prong.

          “Once a court finds an action could have been brought in the transferee forum, the court

  must weigh various factors . . . to determine if a transfer . . . is justified.” Elite Advantage, LLC v.

  Trivest Fund, IV, L.P., No. 15-22146, 2015 WL 4982997, at *5 (S.D. Fla. Aug. 21, 2015) (citation

  and internal quotation marks omitted). The Eleventh Circuit instructs that a district court should




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  consider the following list, albeit nonexhaustive, of private and public interest factors to deter-

  mine whether a transfer is appropriate:

         (1) the convenience of the witnesses; (2) the location of the relevant documents and
         the relative ease of access to sources of proof; (3) the convenience of the parties;
         (4) the locus of operative facts; (5) the availability of process to compel the attend-
         ance of unwilling witnesses; (6) the relative means of the parties; (7) a forum’s
         familiarity with the governing law; (8) the weight accorded a plaintiff’s choice of
         forum; and (9) trial efficiency and the interests of justice, based on the totality of
         the circumstances.

  Manuel v. Convergys Corp., 430 F.3d 1132, 1135 n.1 (11th Cir. 2005) (citation omitted).

         A.      Plaintiff’s Choice of Forum and Locus of Operative Facts/“Center of Gravity”

         As this Court has previously explained in ruling on a motion to transfer in another patent

  infringement action:

         The movant seeking a venue transfer has the burden to establish that a transfer is
         warranted, and a plaintiff’s choice of forum “should not be disturbed unless it is
         clearly outweighed by other considerations.” Elite Advantage LLC v. Trivest Fund,
         IV, L.P., No. 15-22146, 2015 WL 4982997, at *5 (S.D. Fla. Aug. 21, 2015) (quoting
         Robinson v. Giarmarco & Bill, P.C., 74 F.3d 253, 260 (11th Cir. 1996)) (internal
         quotation marks omitted). However, “where a plaintiff has chosen a forum that is
         not its home forum, only minimal deference is required, and it is considerably easier
         to satisfy the burden of showing that other considerations make transfer proper.”
         Cellularvision [Tech. & Telecomms., L.P. v. Alltel Corp.], 508 F. Supp. 2d [1186,]
         1189 [(S.D. Fla. 2007)] (citing Piper Aircraft Co. v. Reyno, 454 U.S. 235, 255-56
         (1981)). Furthermore, courts accord plaintiffs less deference “when the operative
         facts underlying the action occurred outside the district chosen by the plaintiff.”
         Moghaddam v. Dunkin Donuts, Inc., No. 02-60045, 2002 WL 1940724, at *3 (S.D.
         Fla. Aug. 13, 2002).

  Filtalert Corp. v. IBM Corp., No. 15-22845, 2015 WL 9474640, at *6 (S.D. Fla. Dec. 29, 2015).

  Regarding the “center of gravity,” this Court stated:

         “Several district courts have held that the ‘center of gravity’ for a patent infringe-
         ment case is [the place] where the accused product was designed and developed.”
         Motorola Mobility, Inc. v. Microsoft Corp., 804 F. Supp. 2d 1271, 1276 (S.D. Fla.
         2011) (citations, internal quotation marks, and footnote omitted) (citing Trace-
         Wilco, Inc. v. Symantec Corp., No. 08-80877, 2009 WL 455432, at *2-3 (S.D. Fla.
         Feb. 23, 2009)). “The district court ought to be as close as possible to the milieu of
         the infringing device and the hub of activity centered around its production. For that
         reason, district courts may disregard plaintiff’s choice of forum in cases involving


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          claims of patent infringement.” Trace-Wilco, Inc., 2009 WL 455432 at *2-3 (cita-
          tions and internal quotation marks omitted).

  Id. at *5. At bottom, “in intellectual property infringement suits, which often focus on the activities

  of the alleged infringer, its employees, and its documents . . . [,] the location of the alleged infringer’s

  principal place of business is often the critical and controlling consideration in adjudicating transfer

  of venue motions.” Trace-Wilco, Inc., 2009 WL 455432, at *3 (quoting Amini Innovation Corp. v.

  Bank & Estate Liquidators, Inc., 512 F. Supp. 2d 1039, 1044 (S.D. Tex. 2007)) (internal quotation

  marks omitted).

          In its Complaint, EcoServices alleges that it is a Delaware limited liability company head-

  quartered in Connecticut. Compl. ¶ 5. Therefore, because the Southern District of Florida is not

  EcoServices’ home forum, and because this is a patent infringement action, no deference is due

  EcoServices’ choice of forum, let alone the “considerable” deference EcoServices contends it is

  due. See Cellularvision, 508 F. Supp. 2d at 1189; Trace-Wilco, Inc., 2009 WL 455432, at *3.

          As for CAS’s argument that the “center of gravity” is the Central District of California

  and, as such, this factor should weigh in favor of transfer, according to the Declaration of Mark Lee,

  CAS’s Chairman:

          (1)   CAS is a Delaware limited liability company with its principal place of business in

                Ontario, California, which is located in San Bernadino County, which is within the

                Eastern Division of the Central District of California;

          (2)   CAS performs engine washes using the Cyclean system at four locations in the United

                States, two of which are located within the Central District of California (Los Angeles

                International Airport (“LAX”) and Ontario International Airport (“ONT”));

          (3)   the majority of CAS’s Cyclean washes have occurred at LAX and ONT;

          (4)   since 2010, CAS has generated 81% of its total Cyclean revenue at LAX and ONT;



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         (5)   CAS maintains two fully operational Cyclean systems at LAX for use at both LAX

               and ONT;

         (6)   CAS has provided only one Cyclean wash in this district, at Miami International

               Airport on September 14, 2011, as a demonstration for a prospective customer who

               ultimately did not purchase the service;

         (7)   that single wash provided in Miami predates the issuance of both the ’609 Patent

               and the ’262 Patent;

         (8)   CAS maintains no Cyclean equipment in this District or in Florida; and

         (9)   CAS does not offer or market Cyclean services in Florida.

  See Lee Decl. ¶¶ 2, 12-20. EcoServices provides no argument in opposition on this factor; thus,

  based on CAS’s proffer, the Court has no choice but to find that the center of gravity in this liti-

  gation is in the Central District of California. See Guzman v. City of Hialeah, No. 15-23985, 2016

  WL 3763055, at *3 (S.D. Fla. July 14, 2016) (“A plaintiff who, in [its] responsive brief, fails to

  address [its] obligation to object to a point raised by the defendant implicitly concedes the point.”).

  Therefore, the Court finds that these factors favor transfer.

         B.      Convenience of Witnesses

         “The convenience of witnesses is probably the single most important factor in transfer

  analysis.” Filtalert, 2015 WL 9474640, at *2 (quoting In re Genentech, Inc., 566 F.3d 1338, 1343

  (Fed. Cir. 2009)). “A district court should assess the relevance and materiality of the information

  each witness may provide, but a defendant need not specify exactly what testimony each witness

  might offer or otherwise identify ‘key witnesses.’” Capella Photonics, Inc. v. Cicso Sys., Inc., Nos.

  14-20529 et al., 2014 WL 3673314, at *4 (S.D. Fla. July 23, 2014). CAS contends that nearly all

  of its likely witnesses work at its headquarters in the Central District of California (with one

  witness splitting his time between that District and Alabama): its Chairman and its “employees


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  responsible for and knowledgeable about the technical details and operation of Cyclean, financial

  and sales data relating to Cyclean, and the marketing of Cyclean.” Def.’s Mot. at 11 (citing Lee

  Decl. ¶¶ 8-10). Given that EcoServices is not located within the Southern District of Florida and

  has not identified any witnesses located here, this alone weighs in favor of transfer. See Game

  Controller Tech. LLC v. Sony Computer Entm’t Am. LLC, 994 F. Supp. 2d 1268, 1274 (S.D. Fla.

  2014) (“When one set of witnesses ‘will be required to travel a significant distance no matter

  where they testify . . . [and] there are a substantial number of witnesses residing in the transferee

  venue who would be unnecessarily inconvenienced by having to travel away from home[,]’ this

  factor should favor transfer.” (quoting In re Genentech, 566 F.3d at 1344)).

         EcoServices’ argument, regarding third-party witnesses located in Europe, that “[c]learly,

  traveling from . . . Europe to Miami is more convenient that traveling to Los Angeles,” Pl.’s Opp’n

  at 6, is a nonstarter. “[W]itnesses from Europe will be required to travel a significant distance no

  matter where they testify,” thus courts should not give any significant weight to “the inconven-

  ience of . . . European witnesses.” In re Genentech, 566 F.3d at 1344.

         The Court concludes that the convenience of witnesses favors transfer.

         C.      Location of Relevant Documents and Ease of Access to Sources of Proof

         “In patent infringement cases, the bulk of the relevant evidence usually comes from the

  accused infringer.” In re Nintendo Co., 589 F.3d 1194, 1199 (Fed. Cir. 2009). However, as this

  Court previously explained, “given that the electronic storage and transfer of documents between

  litigants has become the norm, many courts find that the location of relevant documents should

  be given little weight in the transfer analysis.” Filtalert, 2015 WL 9474640, at *3 (citing Micro-

  spherix LLC v. Biocompatibles, Inc., No. 11-80813, 2012 WL 243764, at *3 (S.D. Fla. Jan. 25,

  2012) (“In a world with fax machines, copy machines, email, overnight shipping, and mobile

  phones that can scan and send documents, the physical location of documents is irrelevant.”)).


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  But the sources of proof in this case are not limited solely to easily transferrable documents. While

  the patent at issue in Filtalert dealt with a system for filtering air going into a computer, here

  EcoServices has claimed infringement against a system that washes jet engines, a system much

  larger in scale and much more difficult to transport than an air filtering system. As CAS has pointed

  out, should the case require inspection of the Cyclean system or the interaction of the system with

  jet engines, it would be far more convenient to inspect the system or the interaction at CAS’s head-

  quarters in the Central District of California than it would in this District, where CAS keeps no

  Cyclean systems. Therefore, the Court finds that this factor also weighs in favor of transfer.

         D.      Trial Efficiency and the Interests of Justice

         The Court has already established that both parties in this litigation have nearly no ties to

  this District, and “[c]itizens in the Southern District of Florida have little interest in disputes

  between foreign business and normally should not be burdened by the litigation.” Cellularvision,

  508 F. Supp. 2d at 1192. By contrast, “while Plaintiff has no ties to Florida, Defendants’ home

  forum is located in the [transferee district], which provides that forum with a significant interest in

  the instant action.” ShadeFX Canopies, Inc. v. Country Lane Gazebos, LLC, No. 13-80239, 2013

  WL 9827411, at *4 (S.D. Fla. June 14, 2013).

         EcoServices’ sole contention on this factor is that “the Parties and Court hav[e] already

  established case deadlines, a trial schedule, and discovery and disclosure obligations. Indeed,

  discovery in this case is underway.” Pl.’s Opp’n at 8. The entry of a scheduling order alone is not

  sufficient grounds to deny a transfer motion, especially in a case that was initiated only four months

  ago, where the parties have exchanged only initial disclosures, and where the trial date is not set

  to begin until March 2018. Nothing is keeping the parties from continuing discovery apace, and

  nothing is stopping the parties from requesting the exact same or substantially similar deadlines of

  the transferee court. Considering that, as well as the lack of ties to this District and the fact that


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  this District “has one of the busiest dockets in the country,” id. (quoting Thermal Techs., Inc. v.

  Dade Serv. Corp., 282 F. Supp. 2d 1373, 1376 (S.D. Fla. 2003)), the Court concludes that factor

  also weighs in favor of transfer.

                                               *     *   *

         By stating that “the remaining factors are neutral,” Pl.’s Opp’n at 8, EcoServices neces-

  sarily concedes that none of these factors (convenience of the parties, availability of process to

  compel the attendance of unwilling witnesses, relative means of the parties, and familiarity with

  the governing law) could potentially weigh against transfer. Because the Court has found that each

  of the factors outlined above weighs in favor of transfer, even assuming arguendo that the remain-

  ing factors are neutral (rather than weighing in favor of transfer, as well), the Court concludes that

  the private and public interest factors, on the whole, weigh in favor of transfer to the Central

  District of California.

         Accordingly, it is ORDERED AND ADJUDGED that the Defendant’s Motion to Transfer

  Venue [ECF No. 25] is GRANTED. This action is TRANSFERRED in its entirety to the United

  States District Court for the Central District of California, Eastern Division.

         This action is CLOSED in this District.

         DONE AND ORDERED in Chambers at Miami, Florida, this 22nd day of August, 2016.




                                                   __________________________________
                                                   DARRIN P. GAYLES
                                                   UNITED STATES DISTRICT JUDGE




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